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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

                v.
                                                       Crim. No. 17-201-2 (ABJ)
 RICHARD W. GATES III,

                     Defendant.

                                    JOINT STATUS REPORT

       COMES NOW, the United States of America, by and through the United States Attorney

for the District of Columbia, and the defendant through his counsel, and file this joint status report

to provide the Court with the status of this matter.

       1.       The parties previously filed a Joint Status Report on March 15, 2019, and proposed

to send an ensuing report within sixty days and no later than May 14, 2019. To date: (1) defendant

Gates continues to cooperate with the government as required by his Plea Agreement, and (2) this

Court has scheduled a trial in United States v. Craig, 19-CR-125 (ABJ), to begin on August 12,

2019, and another trial, United States v. Stone, 19-CR-18 (ABJ), to begin November 5, 2019. As

a result, the parties do not believe that a sentencing date should be set at this time.

       2.       Accordingly, the parties respectfully request that they provide a joint status report

no later than August 30, 2019. A proposed Order is attached.

                                                        Respectfully submitted,

                                                        JESSIE K. LIU
                                                        UNITED STATES ATTORNEY

/s/ Thomas C. Green                                     /s/ Fernando Campoamor-Sánchez
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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

                v.
                                                     Crim. No. 17-201-2 (ABJ)
 RICHARD W. GATES III,

                     Defendant.


                                             ORDER

        Upon consideration of the representations made in the May 14, 2019 Joint Status Report

and for good cause shown, it is this ________ day of ____________, 2019,

        ORDERED that the parties file a joint status report by no later than August 30, 2019, stating

whether the matter should be scheduled for sentencing or whether a deadline should be set for

filing another joint status report.

        IT IS SO ORDERED.




                                                      HON. AMY BERMAN JACKSON
                                                      UNITED STATES DISTRICT JUDGE
